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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
                  Plaintiff,           )
                                       )
                  v.                   )       No. 4:09CR779 HEA
                                       )                    (FRB)
RANDY TERRELL,                         )
                                       )
                  Defendant.           )

                          MEMORANDUM AND ORDER
                   OF UNITED STATES MAGISTRATE JUDGE

            All pretrial motions in the above cause were referred to

the undersigned United States Magistrate Judge pursuant to 28

U.S.C. § 636(b).       Defendant Randy Terrell filed several pretrial

motions which were heard before the undersigned on February 4,

2010. Neither party wished to present any evidence on the motions.

      Motions Filed By Defendant Randy Terrell

      1.    Motion To Sever Defendants (Docket No. 34)

            In his motion defendant seeks a separate trial from his

co-defendant Jason Phipps.             On February 17, 2010, co-defendant

Phipps appeared before United States District Judge Henry E. Autrey

and entered a guilty plea.        Therefore, defendant Terrell's Motion

To Sever Defendants for trial is at this time moot and should be

denied as such.

      2.    Motion To Preserve Memoranda Relating To Interviews Of
            Witnesses And To Require Law Enforcement Authorities To
            Preserve Their Rough Notes, Rough Drafts, And Similar
            Materials (Docket No. 33)

            In its written response to defendant's motion (Docket No.

36) the government states that, "The government has sent a formal

request to the lead case agent in this matter notifying him of this
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motion and requesting that all investigators preserve their rough

notes and memoranda pending the outcome of this case.                   A copy of

this formal request was sent to defense counsel on January 27,

2010, by U.S. Mail."       Inasmuch as it appears that the government

does not oppose the defendant's motion, the motion should be

granted.

            Therefore,

            IT IS HEREBY ORDERED that defendant Randy Terrell's

Motion To Sever Defendants (Docket No. 34) is denied as moot.

            IT IS FURTHER ORDERED that defendant Randy Terrell's

Motion To Preserve Memoranda Relating To Interviews Of Witnesses

And To Require Law Enforcement Authorities To Preserve Their Rough

Notes, Rough Drafts, And Similar Materials (Docket No. 33) is

granted.




                                           UNITED STATES MAGISTRATE JUDGE



Dated this 25th day of February, 2010.




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